            Case
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


FAIRFAX REALTY OF ROCKVILLE,                   *
LLC,et al^
                                               *


          Plaintiffs,
                                                       Civil No. 8:22-cv-02722-PJM
V.



GREENWICH INSURANCE COMPANY,

          Defendant.




                                       PROPOSED ORDER


          Plaintiffs Fairfax Realty of Rockville, LLC and Ellen L. Lima and Defendant Greenwich

Insurance Company have provided notice to this Court pursuant to Local Rule 111 that the

parties have reached an agreement in principle to settle all claims pending in the above-captioned

action.


          It is therefore ORDERED that this case is dismissed without prejudice to the right of any

party to move for good cause to reopen the case within 60 days if the settlement is not

consummated. If no party moves to reopen, the dismissal shall be with prejudice. Each party is

to bear its own costs.>



Date:                           ,2022




                                                           J. Messitte
                                                           t Court for the District of Maryland




4895-1846-6110. v. 1
